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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
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NIAGARA MOHAWK POWER CORPORATION,

                                 Plaintiff,

                   vs

CONSOLIDATED RAIL CORPORATION; THE
KING SERVICE, INC.; UNITED STATES STEEL
COMPANY; EDWIN D. KING; LAWRENCE
KING; RICHARD B. SLOTE; CHEVRON U.S.A.,                         5:98-CV-1039
INC.; PORTEC, INC.; and AMERICAN PREMIER
UNDERWRITERS, INC.;

                                 Defendants.

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CHEVRON, U.S.A., INC.,

                                 Third-party Plaintiff,
                    vs

THE COUNTY OF RENSSELAER; and THE COUNTY
OF RENSSELAER SEWER DISTRICT NO. 1,

                                 Third-party Defendants.

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APPEARANCES:                                       OF COUNSEL:

NIAGARA MOHAWK POWER CORPORATION                   JOHN T. PARKINSON, ESQ.
Plaintiff                                          Managing Counsel
300 Erie Boulevard West
Syracuse, New York 13202

SWIDLER, BERLIN, SHEREFF,                          MILISSA A. MURRAY, ESQ.
   FRIEDMAN, L.L.P.                                THOMAS R. LOTTERMAN, ESQ.
Attorneys for Plaintiff
3000 K Street, N.W., Suite 300
Washington, D.C. 20007
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MENTER, RUDIN & TRIVELPIECE, P.C.                  THOMAS JOSEPH FUCILLO, ESQ.
Attorneys for Defendant Consolidated
   Rail Corporation
500 South Salina Street, Suite 500
Syracuse, New York 13202

WHITEMAN & OSTERMAN                                JOSEPH D. STINSON, ESQ.
Attorneys for Defendants King Service, Inc.,       SCOTT T. DECKER, ESQ.
   Edwin D. King, Lawrence King, and
   Richard B. Slote
One Commerce Plaza, Suite 1900
Albany, New York 12260

USX CORPORATION                                    DAVID L. SMIGA, ESQ.
600 Grant Street, Room 1500
Pittsburgh, Pennsylvania 15219

DEVORSETZ, STINZIANO, GILBERTI,                    KEVIN C. MURPHY, ESQ.
   HEINTZ & SMITH, P.C.                            TIMOTHY J. LAMBRECHT, ESQ.
Attorneys for Defendant United States
   Steel Company
555 East Genesee Street
Syracuse, New York 13202-2159

LAFAVE & ASSOCIATES                                PATRICK J. HIGGINS, ESQ.
Attorneys for Defendant and Third-party
 Plaintiff Chevron U.S.A., Inc.
822 Delaware Avenue
Delmar, New York 12054

BOND, SCHOENECK & KING                             ARTHUR J. SIEGEL, ESQ.
Attorneys for Defendant Portec, Inc.               KIMBERLEE S. PARKER, ESQ.
111 Washington Avenue
Albany, New York 12210

ORRICK & HERRINGTON                                JAMES J. CAPRA, JR, ESQ.
Attorneys for Defendant American                   SIOBHAN A. HANDLEY, ESQ.
   Premier Underwriters, Inc.
666 Fifth Avenue
New York, New York 10103




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OFFICE OF RENSSELAER COUNTY
   ATTORNEY                                         STEPHEN A. PECHENICK, ESQ.
Attorney for Third-party County Defendants
41 Second Street
Troy, NY 12180


DAVID N. HURD
United States District Judge



                                          ORDER

              On May 10, 2005, the United States Court of Appeals for the Second Circuit

issued a Mandate remanding this matter for consideration in light of Cooper Industries v.

Aviall Services,   U.S.    , 125 S. Ct. 577 (2004). The Mandate was filed on May 16, 2005.

              Accordingly, it is

              ORDERED that

              1. Any interested defendant may file and serve a brief on this issue not to

exceed ten pages in length on or before June 17, 2005;

              2. Plaintiff may file and serve a responsive brief not to exceed ten pages in

length on or before July 15, 2005;

              3. No reply briefs will be permitted; and

              4. Oral argument will be heard at the United States Courthouse, 10 Broad

Street, Utica, New York, at 10:00 a.m. on August 12, 2005.

IT IS SO ORDERED.




Dated: May 26, 2005
       Utica, New York.

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